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 1   Mark A. Lemley (State Bar No. 155830)
     LEX LUMINA PLLC
 2   745 Fifth Avenue, Suite 500
 3   New York, NY 10151
     Telephone: (646) 898-2055
 4   Facsimile: (646) 906-8657
     Email: mlemley@lex-lumina.com
 5
     Nicole M. Jantzi (pro hac vice)
 6   Paul M. Schoenhard (pro hac vice)
 7   FRIED, FRANK, HARRIS, SHRIVER
       & JACOBSON LLP
 8   801 17th Street NW
     Washington, DC 20006
 9   Telephone: (202) 639-7254
     Email: nicole.jantzi@friedfrank.com
10
           paul.schoenhard@friedfrank.com
11
     Counsel for Defendants Stability AI, Inc.
12   and Stability AI Ltd.

13   [Additional counsel on signature page]
14

15
                               UNITED STATES DISTRICT COURT
16                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
17
     SARAH ANDERSEN, an individual;
18
     KELLY MCKERNAN, an individual;
19   KARLA ORTIZ, an individual,

20        Individual and Representative Plaintiffs,
                                                      CASE NO. 3:23-cv-00201-WHO
21          v.
22                                                    DECLARATION OF PAUL M.
     STABILITY AI, LTD., a UK corporation;            SCHOENHARD IN SUPPORT OF
23   STABILITY AI, INC., a Delaware                   NOTICE RE: JOINT CASE
     corporation;                                     MANAGEMENT STATEMENT
24   MIDJOURNEY, INC., a Delaware
     corporation;
25   DEVIANTART, INC., a Delaware
26   corporation,

27       Defendants.

28

                                                                        SCHOENHARD DECL. ISO
                                                                         NOTICE RE: JOINT CMS
                                                                  CASE NO. 3:23-CV-00201-WHO
      Case 3:23-cv-00201-WHO Document 105-1 Filed 08/23/23 Page 2 of 2



 1          I, Paul M. Schoenhard, declare and state as follows:
 2          1.      I am an attorney at the law firm Fried, Frank, Harris, Shriver & Jacobson LLP,
 3
     counsel for Defendants Stability AI Ltd. and Stability AI, Inc. (“Stability Defendants”) in the above-
 4
     captioned action. I respectfully submit this Declaration in support of Stability Defendants’ Notice
 5
     Re: Joint Case Management Statement.
 6

 7          2.      Attached hereto as Exhibit A is a true and correct copy of email correspondence

 8   between counsel for Plaintiffs and counsel for Stability Defendants spanning August 21–22, 2023.

 9          3.      Counsel for Plaintiffs did not provide any response to the email I sent at
10
     approximately 12:25 PM EDT on August 22, 2023 (Ex. A at 1).
11
            4.      Counsel for Plaintiffs did not advise the Stability Defendants of their intent to file a
12
     unilateral case management statement.
13
            I declare under penalty of perjury, under the laws of the United States, that the foregoing is
14

15   true and correct.

16
     SIGNED this 23rd day of August, 2023, at Washington, D.C.
17

18                                             By: /s/ Paul M. Schoenhard
19                                                 Paul M. Schoenhard (Pro Hac Vice)
                                                   (paul.schoenhard@friedfrank.com)
20                                                 FRIED, FRANK, HARRIS, SHRIVER
                                                     & JACOBSON LLP
21                                                 801 17th Street NW
                                                   Washington, DC 20006
22                                                 Telephone: (202) 639-7265
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                                                     - 1-                      SCHOENHARD DECL. ISO
                                                                                NOTICE RE: JOINT CMS
                                                                         CASE NO. 3:23-CV-00201-WHO
